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         IN THE UNITED STATES BANKRUPTCY COURT OE THE EASTERN
                        DISTRICT OF PENNSYLVANIA


   In re: REGINALD (i. WARNER, II

                          Debtor                        Chapter 7

                          Plaintiff                     Case Number: 2013-14194- mdc

   v.                                                   Adversary No:


   UNIVERSITY OF PENNSYLVANIA

                         Respondent
                         Defendant.




           ADVERSARY PROCEEDING TO DISCHARGE STUDENT LOAN
                            OBLIGATIONS


   AND NOW eomes Reginald G. Warner. Debtor, by and through his attorney and in

   support of his Adversary Proceeding avers the following:



                                             PARTIES



        1. Plaintiff. Reginald Warner. Debtor in the instant Chapter 7 proceeding and in this

           adversary proceeding declares that his loan and account does not constitute and

           educational loan and should be discharged. In the alternative, the Debtor seeks a

           declaration that his debts present an undue hardship and should be discharged per

           523(a)(8).

        2. The Defendant is a non-profit institution of higher learning.
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                                 JURISDICTION AND V E N U E

      3. Subject matter jurisdiction is vested in this Court to 28 USC §§ 1554,157 and

          1334 and it is a core proceeding. Debtor is seeking relief pursuant 11USC §

         523(a)(8).

      4. Venue of this adversary proceeding is proper pursuant to 28 USC §1409(a) in

         that this proceeding arises in and relates to bankruptcy case opened and

         discharged in this district.



                                          FACTS

      1. The Debtor commenced the underlying voluntary individual Chapter 7

            bankruptcy case filed on February 15, 2013. Discharge was granted on August

            26.2013.

     2. Defendant University of Pennsylvania (hereinafter "Penn") is a non-profit

            corporation and an institution of higher education with a principal place of

            business at 3451 Walnut Street. Philadelphia, Pennsylvania. Penn is

            represented by J. Scott Watson. Esq.

     3. Debtor listed among his debts an account with Penn and a debt to "Nellie Mae".

            Both debts were listed as unsecured in his Schedules.

     4. Debtor was a student at Penn during all times relevant to the commencement of

            the debts. The loan and account were incurred to pay expenses at Penn.

     5. The debts at issue do not fit the meaning of 11 U.S. C. § 523 (a)(8).

     6. Penn has no standing to attempt collection on the Nellie Mae debt which is neither

            guaranteed federally nor provided by a non-profit. Penn's debt is not a
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             student loan pursuant to the IRS Code and/or the Bankruptcy Code. Perm did

             not transfer funds or create a formal agreement specifying repayment terms for a debt

             before Debtor was enrolled at Perm.

     7.   On December 22, 2008 Penn tiled a complaint in the Court of Common Pleas

             Philadelphia County December Term 2008 No. 4427 to collect from the

             Debtor and obtained a Judgment. The debts were included in Debtor's

             Chapter 7 bankruptcy filing. Defendant has with malice withheld the Debtor's

             transcript making it hard lor Debtor to obtain employment.



                 DECLARATION THAT THE LOAN IS NOT A EDUCATIONAL
                                     LOAN


     8. The Debtor averments one through seven are repeated as stated if fully set forth

             herein.

     9.   Section 523(a)(8) ofthe Bankruptcy Code states that an "educational" loan that is

             a qualified educational is defined by reference to section221 (d)(l) ofthe IRS

             Code and 11 USC § 523(a)(8). The loan to Debtor made by Penn is not an

             educational loan w i t h i n the meaning of section 523(a)(8) ofthe Bankruptcy

             Code.

      10. The Penn debt is referred to as an account by Penn. The terms ofthe account are

             not stated as to make it compliant with an educational loan that would not be

             dischargeable. (Exhibit A)

      11. Penn does not have standing to act in the stead of Nellie Mae. Since 1999 Nellie

             Mae has not existed. (Exhibit B)
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      12. Perm has not presented any document of assignment to collect for the loan. No

             document has been presented by Perm showing ownership of the loan.

                                            HARDSHIP



     13. The Debtor averments one through nine are repeated as stated if fully set forth

             herein.

     14. The Debtor cannot maintain, based on his current income and expenses, a

             minimal standard of living and repay his student loans;

     15. His state of affairs is likely to persist for a significant portion of the repayment

             period of the student loans;

     16. The Debtor has made good faith efforts to repay the loans; Debtor is currently a

             student with limited income.

         WHEREFORE, the Debtor demands judgment:
              a. Declaring that Penn loan to Debtor is not and educational loan and therefore
                 discharged under Chapter 7 discharge section 727
              b. Penn has no standing with regard to Nellie Mae
              c. Nellie Mae no longer exist
              d. Nellie Mae debt is not an educational loan and therefore discharged under
                 Chapter 7 discharge section 727 and
              e. For any other relief deemed appropriate by the Court.



                                         By:            /s/
                                                    Bernardette Perkins. Esquire
  Date: April 17. 2016                              The Perkins Law Croup, P.C.
                                                    Centre Square Hast 12 th Floor
                                                    Philadelphia. PA 19102-2100
                                                    (215)665-5740
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                            EXHIBIT A
12-09-'15 17•!! FROM-J. Scott Watson PC 610-358-9601     T-165 Pe013/0013 F-667
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                                EXHIBITS
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                                                       To:-                                                                                 uu '
Fi om: Bernardette Perkins 'Fax: (8881 887-1435                                                                                         r

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                                                                 AFFIDAVIT
                   COMMONWEALTH OF PENNSY VANIA
                   COUNTY OF PHILADELPHIA

                         BEFORE ME, the undereigijfcd authority, on this day personally appeared JO DELANEY of the
                  University of Pennsylvania, who heijibyJfrBt duly sworn on an oath deposes and says that the Defendant
                  named in the foregoing suit,          ^^CM^t/ & ft)cyr<ner            , is indebted to the University of
                  Pennsylvania for items and/or services as follows:

                            Description:

                  TOTAL CHARGES and/or OWGINKCPRINCIPAL BALANCE
                  ACCRUED INTEREST (if applicablH) through
                  LATE FEES/CHARGES (if applicablF) "
                  PENALTY FEES/CHARGES (if app) cable)
                  COLLECTION CHARGES (if applicable)

                   CREDITS and/or PAYMENTS
                        to Principal
                        to Interest
                        to Late Fees/Charges
                         to Penalty Fees/Charges
                         to Collection Charges
                        to Other

                   TOTAL AMOUNT DUE

                           That the above account is withm the knowledge of said Affiant, jusi true and accurate, that the same
                   is due and unpaid, and that all lawful ati) just offsets, payments and credits have been allowed, and that the
                   Affiant is authorized to make this Affidavit in the capacity stated, and that a systematic record of such
                   account has been kept by the Universiw of Pennsylvania.

                   DATE:
                                                                              JO DELANEY              /
                                                                              University of Pennsylvania

                   SWORN TO AND SUBSCRIBED
                   BEFORE ME THIS tfl*- DAY



                   NOTARY PUBLIC
                    COMMONWEALTH pp PENNBYLV/WM

                     LAURA ANN MALONEV
                       ConcofrfTwp,
                                 "
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                                 CERTIFICATE OF SERVICE

   I, Bernardette Perkins. Enquire, counsel for Debtor/Plaintiff, do hereby certify that a true

   and correct copy of the within Adversary Proceeding has been served this 18th day of

  April. 2016. by ECF and/or first class mail, upon those listed below:

  J. Scott Watson. Esq.
  J. Scott Watson. P.C.
  24 Regency Plaza
  Glen Mills, PA 19342




                                                    /s/ Bernardette Perkins
                                                 Bernardette Perkins. Esq.
